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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
BRIGGITTA HARDIN,                   )
                                    )
      Plaintiff,                    )
                                    )
      v.                            )               Civil Action No. 11-2052 (RBW)
                                    )
MICK DADLINI, et al.,               )
                                    )
      Defendants.                   )
____________________________________)


                              JOINT RULE 16.3 STATEMENT

       Pursuant to the Court’s Order for Initial Scheduling Conference (D.E. 7), Fed. R. Civ. P.

26(f), and LCvR 16.3, counsel for both parties met telephonically on March 1, 2012 and

communicated several times thereafter, and conferred with respect to the matters required by the

foregoing authorities. In attendance on behalf of Plaintiff was Jennifer Klar of Relman, Dane &

Colfax PLLC. In attendance on behalf of Defendants was Sundeep Hora of Alderman,

Devorsetz, & Hora PLLC. The parties jointly submit this report setting forth their positions on

the matters discussed in the conference.
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A.     Statement of the Case

       Pursuant to the Court’s Order for Initial Scheduling Conference (D.E. 7), the parties

provide the following brief statement of the case and the statutory bases for all causes of action

and defenses.

       Plaintiff Briggitta Hardin, an African-American woman and then an experienced

bartender and Howard University student, alleges that she was subjected to illegal discrimination

on the basis of her race by Defendants when she was hired to fill a much-needed bartender

position at Redline and then, upon Defendant Dadlani (owner and manager of Redline) learning

of her race, immediately terminated and/or denied employment. Plaintiff alleges the

discriminatory denial of employment to Ms. Hardin by Redline was part of a broader scheme of

discriminatory exclusion of African-Americans perpetrated by Redline and Defendant Dadlani

designed to establish Redline as a primarily Caucasian venue. The statutory bases for Plaintiff’s

causes of action are (1) Section 1981 of the Civil Rights Act of 1866, as amended, 42 U.S.C. §

1981, et seq.; and (2) the District of Columbia Human Rights Act, D.C. Code § 2-1402.11.

       Defendant Red Line, DC (“Red Line”) is a “gastropub,” situated across the street from

the Verizon Center in Chinatown in the District of Columbia. From its inception, Red Line

promoted itself as the place to watch sports in an upscale venue with high-end beer and food.

Red Line’s principal, Mick Dadlani, located Red Line near the Verizon Center and in Chinatown

so that it would be accessible to the same diverse crowd that patronizes this neighborhood and

the Verizon Center itself. The allegations in the Complaint that Red Line engaged in a “broad

scheme” to exclude African Americans from its establishment is patently false. Given that Red

Line was (and is) trying to establish itself in a very competitive restaurant business in a diverse

metropolitan area, such a scheme would be self-defeating.




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       With respect to Plaintiff, Defendants do not have a record of her actually being hired by

Red Line. Upon information and belief, Plaintiff indicated she would only accept a position as a

bartender. A Red Line supervisor informed Plaintiff that she believed that the restaurant had a

full cadre of bartenders, but that Plaintiff was welcome to come to the Grand Opening to see if

the restaurant needed any additional help behind the bar. After Red Line reaffirmed that there

were sufficient bartenders for that day, Plaintiff was told that she would not be needed, but that

she was welcome to work as a waitress. Plaintiff declined that opportunity, and Red Line never

heard from her after that point until this lawsuit was filed.




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B.         Proposed Schedule

           The parties propose the following schedule.1

           Rule 26(a)(1)(A) Initial Disclosures                   7 days prior to mediation session with
                                                                  Magistrate Judge

           Deadline for Amending Pleadings                        75 days after discovery opens
           or Joining Other Parties

           Proponent’s R. 26(a)(2) Statements                     105 days after discovery opens

           Opponent’s R. 26(a)(2) Statements                      135 days after discovery opens

           All Discovery Closed                                   180 days after discovery opens

           Dispositive Motions Due                                45 days after the close of discovery

           Oppositions to Dispositive                             45 days after dispositive motions due
           Motions Due

           Replies In Support of                                  21 days after oppositions to dispositive
           Due                                                    motions due

           Pretrial Conference                                    to be determined by the Court

           Trial                                                  to be determined by the Court




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    If a deadline falls on a weekend, the due date will be considered to be the next business day.


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C.    Matters Discussed By The Parties Pursuant to LCvR 16.3(c)

(1)   Whether the case is likely to be disposed of by dispositive motion; and whether, if a
      dispositive motion has already been filed, the parties should recommend to the court
      that discovery or other matters should await a decision on the motion.

      A dispositive motion has not been filed and therefore discovery is ready to begin.

      Plaintiff does not believe that the case is likely to be disposed of by any future dispositive
      motion.

      Defendants believe that this case is likely to be disposed of by dispositive motion and
      anticipates filing a motion at the conclusion of discovery.

(2)   The date by which any other parties shall be joined or the pleadings amended, and
      whether some or all the factual and legal issues can be agreed upon or narrowed.

      A proposed date is included in the proposed schedule above.

      The parties do not believe that the factual or legal issues can be narrowed any further.

(3)   Whether the case should be assigned to a magistrate judge for all purposes,
      including trial.

      The parties do not believe that the case should be assigned to a magistrate judge for all
      purposes.

(4)   Whether there is a realistic possibility of settling the case.

      The parties’ position, elaborated in item (C)(5) below, is that the parties would benefit
      from a 30-day mediation period before one of the United States Magistrate Judges prior
      to the opening of discovery.

(5)   Whether the case could benefit from the Court’s alternative dispute resolution
      (ADR) procedures (or some other form of ADR); what related steps should be taken
      to facilitate such ADR; and whether counsel have discussed ADR and their response
      to this provision with their clients. In assessing the above, counsel shall consider:

      (i)      the client’s goals in bringing or defending the litigation;

      (ii)     whether settlement talks have already occurred and, if so, why they did not
               produce an agreement;

      (iii)    the point during the litigation when ADR would be most appropriate, with
               special consideration given to:




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             (aa)    whether ADR should take place after the informal exchange or
                     production through discovery of specific items of information; and

             (bb)    whether ADR should take place before or after the judicial resolution
                     of key legal issues;

      (iv)   whether the parties would benefit from a neutral evaluation of their case,
             which could include suggestions regarding the focus of discovery, the legal
             merits of the claim, an assessment of damages and/or the potential settlement
             value of the case; and

      (v)    whether cost savings or any other practical advantages would flow from a
             stay of discovery or of other pre-trial proceedings while an ADR process is
             pending.

      The parties’ position is that the parties would benefit from a 30-day mediation period
      before one of the United States Magistrate Judges prior to the opening of discovery.

      The parties ask to be referred to one of the United States Magistrate Judges for a
      mediation period of 30 days and that discovery open at the close of the mediation period,
      if a settlement has not been reached.

      The parties have agreed that while discovery will not open until the close of the
      mediation period, the parties will exchange initial disclosures 7 days prior to the agreed-
      upon mediation date.

      In addition, prompt exploration of whether settlement is possible would save substantial
      costs and fees associated with discovery.

(6)   Whether the case can be resolved by summary judgment or motion to dismiss; dates
      for filing dispositive motions and/or cross-motions, oppositions, and replies; and
      proposed dates for a decision on the motions.

      See the proposed schedule and item (C)(1) above.

(7)   Whether the parties should stipulate to dispense with the initial disclosures required
      by Rule 26(a)(1), F.R.Civ.P., and if not, what if any changes should be made in the
      scope, form or timing of those disclosures.

      The parties agree that initial disclosures should not be waived or changed.

      See the proposed schedule above.

(8)   The anticipated extent of discovery, how long discovery should take, what limits
      should be placed on discovery; whether a protective order is appropriate; and a




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       date for the completion of all discovery, including answers to interrogatories,
       document production, requests for admissions, and depositions.

       See proposed schedule above.

       The parties agree on a limit of 25 interrogatories and 10 depositions for each side. This
       represents the default numbers of interrogatories and depositions under Rules 33 and 30
       of the Federal Rules of Civil Procedure.

       As a protective order is often necessary in employment cases, Plaintiff requests the
       discussion of any necessary protective order immediately as to not delay Plaintiff’s
       receipt of discovery responses from Defendants. Plaintiff will provide a draft protective
       order prior to the opening of discovery, in an effort to expedite this process.

       Defendants believe a protective order is appropriate in this case and will work with
       Plaintiff’s counsel on a version for the Court’s approval.

(9)    Whether the requirement of exchange of expert witness reports and information
       pursuant to Rule 26(a)(2), F.R.Civ.P., should be modified, and whether and when
       depositions of experts should occur.

       See proposed schedule above.

       The parties agree that the requirements should not be modified.

(10)   In class actions, appropriate procedures for dealing with Rule 23 proceedings,
       including the need for discovery and the timing thereof, dates for filing a Rule 23
       motion, and opposition and reply, and for oral argument and/or an evidentiary
       hearing on the motion and a proposed date for decision.

       Not applicable.

(11)   Whether the trial and/or discovery should be bifurcated or managed in phases, and
       a specific proposal for such bifurcation.

       Plaintiff opposes Defendants’ request to bifurcate discovery. In addition, it is Plaintiff’s
       position that there is no basis for bifurcating any triable issues.

       Defendants assert that discovery should be bifurcated as follows: liability and Plaintiff’s
       damages during the discovery period and net worth/punitive damages discovery after
       resolution of dispositive motions in Plaintiff’s favor. With respect to trial, Defendants do
       not have a position on this issue at this time, however, they reserve the right to move for
       bifurcated trial at the appropriate time.

(12)   The date for the pretrial conference (understanding that a trial will take place 30 to
       60 days thereafter).



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       The parties propose that the court set a date for the pretrial conference after the resolution
       of post-discovery dispositive motions and set a trial date at the pretrial conference in
       order to allow for further mediation or settlement discussions after resolution of post-
       discovery dispositive motions.

(13)   Whether the Court should set a firm trial date at the first scheduling conference or
       should provide that a trial date will be set at the pretrial conference from 30 to 60
       days after that conference.

       The parties propose that the court set a date for the pretrial conference after the resolution
       of post-discovery dispositive motions and set a trial date at the pretrial conference in
       order to allow for further mediation or settlement discussions after resolution of post-
       discovery dispositive motions.

(14)   Such other matters that the parties believe may be appropriate for inclusion in a
       scheduling order.

       None.

                                     Respectfully submitted,

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